           Case 2:22-cv-03385-MMB Document 80 Filed 02/12/24 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOSHUA ROY MOSES,                             :
  Plaintiff,                                  :   Civil Action No. 22-3385
                                              :
      v.                                      :
                                              :
JAMIE SORBER, et al.,                         :
  Defendants.                                 :

                                          ORDER

                     12th day of February, 2024, upon consideration of Plaintiff’s Motion
       AND NOW, this ______

for Extension of Time to file a second amended complaint, it is hereby ORDERED that the Motion

is GRANTED. Plaintiff’s second amended complaint is due on or before February 20, 2024.

                                                  BY THE COURT:


                                                  /s/ Michael M. Baylson
                                                  __________________________________
                                                  MICHAEL M. BAYLSON, U.S.D.J.
